Case 0:21-cv-60083-RAR Document 1-2 Entered on FLSD Docket 01/15/2021 Page 1 of 9
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                                                                  IN THE CIRCUIT COURT OF THE                    1   5
                                                               17TH JUDICIAL CIRCUIT IN AND FOR
                                                                     BROWARD COUNTY, FLORIDA

                                                                      CASE NO.: C A-CE 2.0_01 6r7 9 -7

    WARREN DARLOW,                                                                                         EXHIBIT
                                                                                                      .0
                                                                                                      .o
               Plaintiff,

    V.

   THE CITY OF CORAL SPRINGS and
   FRANK BABINEC (individually),

               Defendant.


                                                SUMMONS IN A CIVIL CASE

   TO: MANIC BABINEC

                                                  9500 WEST SAMPLE RD
                                                 CORAL SPRINGS, FL 33065

   YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY

                                               RAINIER REGUEIRO, ESQ.
                                               REMER & GEORGES-PIERRE, PLLC.
                                               319 CLEMATIS STREET, STE. 606
                                               WEST PALM BEACH, FL 33401

   an answer to the complaint which is herewith served upon you, within 20 days after service of this
   summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will
   be taken against you for the relief demanded in the complaint. You must also file your answer
   with the Clerk of this Court within a reasonable period of time after service.

                       NOV 25 2020
   CLERK                                                       DATE


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               BRENDA D. F RMAN                            1



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                                                                   IN THE CIRCUIT COURT OF THE                         (51(
                                                               17TH JUDICIAL CIRCUIT IN AND FOR
                                                                     BROWARD COUNTY, FLORIDA

                                                                       CASE NO.: C A C..E                   c) -01 ct /cf

   WARREN DARLOW,

             Plaintiff,

   V.


   THE CITY OF CORAL SPRINGS and
   FRANK BABINEC (individually),

             Defendant.


                                       SUMMONS IN A CIVIL CASE

   TO: TILE CITY OF CORAL SPRINGS, through its Mayor:

                                              SCOTT BROOK
                                          9500 WEST SAMPLE RD
                                         CORAL SPRINGS, FL 33065

   YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY

                                     RAINIER REGUEIRO, ESQ.
                                     REMER & GEORGES-PIERRE, PLLC.
                                     319 CLEMATIS STREET, STE. 606
                                     WEST PALM BEACH, FL 33401

   an answer to the complaint which is herewith served upon you, within 20 days after service of this
   summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will
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   with the Clerk of this Court within a reasonable period of time after service.

                    NOV 25 2020
   CLERK                                                       DATE
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   (BY                      Kr ,

                     r,

         BRENDA D. FORMAN                                  1


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                                                                  IN THE CIRCUIT COURT OF -nu
                                                              17TH JUDICIAL CIRCUIT IN AND FOR
                                                                    BROWARD COUNTY, FLORIDA

                                                                       CASE NO.:

        WARREN DARLOW,

                  Plaintiff,

        V.


        THE CITY OF CORAL SPRINGS and
        FRANK BABINEC (individually),

                  Defendant.




                               COMPLAINT AND DEMAND FOR JURY TRIAL
                 Plaintiff, Warren Darlow, ("Plaintiff'), by and through his undersigned counsel, sues

        Defendants, THE CITY OF CORAL SPRINGS and FRANK BABINEC (individually) and seeks

        damages against the Defendants and any other and further relief this Court deems just and

        proper. Plaintiff states as follows:

                                                     PARTIES

             I. Plaintiff is a resident of Broward County, Florida.

             2. Defendant City Manager, in his official capacity, is a subdivision of the State of Florida

                and has the ability to sue and be sued in his own name.

             3. Defendant Babinec is the City Manager of Coral Springs, Florida, is the final decision

                maker with regard to his office and is responsible for the policies for and conduct of the

                employees within his office.
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                                      VENUE AND JURISDICATION

       4. Venue is proper in the United States District Court in the Southern District of Florida,

          because all material acts alleged in this cause of action occurred in Broward County, and

          the cause of action occurred in Broward County.

      5. This is an action for damages, attorneys' fees and costs.

      6. This action is brought under 42 U.S.C. §1983:

                 Every person who, under color or any statute, ordinance, regulation, custom, or
                 usage, of any State or Territory of the District of Columbia, subjects or causes to
                 be subjected, any citizen of the United States or other person within the
                 jurisdiction thereof the deprivation of any rights, privileges, or immunities
                 secured by the Constitution and laws, shall be liable to the party injured in an
                 action at law, suit in equity, or other proper proceeding for redress...
      7. This Court has original jurisdiction under 28 U.S.C. §1331, to decide cases presenting a

          question arising under the Constitution of the United States; to award damages as

          provided under 28 U.S.C. §1343; and to address the deprivation, under color or law, of

          any right, privilege or immunity secured by the United States Constitution.

      8. All condition precedent to filing this action have occurred, accrued, or have been waived

          as a matter of law,

                                   COMMON ALLEGATIONS

      9. Plaintiff began working for Defendant in or around December 2017.

      10. Plaintiff worked as a Humane Officer and he had Animal Control duties.

      11. Plaintiff was in a private Facebook Group where members posted memes.

      12. Plaintiff posted a meme in this private group. The meme was of George Floyd with pink

         skin.

      13. Plaintiff was making a satirical comment on the current political climate due George

         Floyd's death.
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        14. A complaint was made to the Deputy Chief by "Plaintiff's friend" regarding the picture.

        15. Plaintiff called his friend and asked his friend why he would report Plaintiff

        16. Plaintiff s friend claimed that he did not report Plaintiff.

        17. Plaintiffs friend and Plaintiff called I.T. and discovered that Plaintiff's friend's account

           was hacked. The hacker hacked Plaintiff's friend's account and took a screenshot of

           Plaintiff's post.

       18. Following this, on or about August 13, 2020, Plaintiff got called into Deputy Chiefs

           office. The Deputy Chief told Plaintiff that he was terminated. The Deputy Chief claimed

           he and the city attorney were offended by the post.

       19. Plaintiff asked if the deputy chief cared that the information was obtained illegally. The

           Deputy Chief said no.


                                       COUNTI— 42 U.S.C. $.*1983
                                        Against Frank Babineck)

          Plaintiff, by and through his undersigned counsel, sues Defendant Babinec, in his

   individual capacity and in support states the following:

       20. This is a cause of action for violation of civil rights under 42 U.S.C. §1983 against

          Defendant Babinec, individually.

      21. Plaintiff realleges the allegations contained in Paragraphs 1 through 19 above as if fully

          set forth herein.

      22. Plaintiff has the right under the Constitution of the United States to speak freely on

          matter of public concern.
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       23. On or about August 26, 2020, Defendant Babinec, individually, and under the color of

          law terminated Plaintiff from his position with Coral Springs Police Department as a

          result of the Post.

      24. Defendant Babinec terminated Plaintiff's employment solely because Plaintiff exercising

          his First Amendment rights.

      25. The primary, obvious, and sole purpose of the termination of Plaintiff's employment was

          to deprive and infringe upon Plaintiff's constitutional rights. Plaintiff was terminated

          from his employment and deprived of his right under the First Amendment of the United

          States Constitution.

      26. Defendant Babinec knew that his actions would deprive Plaintiff of his constitutional

          rights and Defendant Babinec proceeded with the unlawful action with willful disregard

          of the consequences of his actions.

      27. Defendant Babinec undertook the actions complained of with the knowledge that his

         actions were in direct violation of the United States Constitution and the rights of

         Plaintiff. The acts of Defendant Babinec violated those clearly established constitutional

         rights, belonging to Plaintiff, of which every reasonable member of the public or

         governmental entity should have known.

      28. Defendant Babinec's actions have directly and proximately caused Plaintiff to suffer

         damages, including mental suffering, the physical and emotional aspects of which

         continue to this day and are likely to continue in the future. Plaintiff has also lost income

         from his position as Humane Officer and has suffered other damages associated with the

         violation of his constitutional rights, which exist to this day. The damage to Plaintiff is

         likely to continue into the future.
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        29. Plaintiff has retained the undersigned counsel to bring this action under 42 U.S.C. §1983,

           is entitled to recover from Defendant Babinec a reasonable fee for said counsel pursuant

           to 42 U.S.C. §1988.

           WHEREFORE, Plaintiff respectfully requests this Court to exercise jurisdiction over this

    cause and over the parties to this action, enter an award of damages against Defendant Babinec,

   in his individual capacity, and award Plaintiff his reasonable attorney's fees and costs pursuant to

   42 U.S.C. §1988 and all other applicable laws. Further, Plaintiff seeks an award of punitive

   damages to punish Defendant Babinec, in his individual capacity, for his conduct so as to deter

   him and other from such future conduct.


                                     COUNTI  I— 42 U.S.C. (1983
                                  (Against The City of Coral Sprinas)

          Plaintiff, by and through his undersigned counsel, sues Defendant, THE CITY OF

   CORAL SPRINGS, and in support states the following:

       30. This is a cause of action for violation of civil rights under 42 U. S.C. §1983 against

          Defendant Clerk.

      31. Plaintiff realleges the allegations contained in Paragraphs 1 through 19 above as if fully

          set forth herein.

      32. Plaintiff has the right to exercise free speech under First Amendment of the Constitution

          of the United States to speak freely on matter of public concern.

      33. Plaintiff has the right to be free from violations of his constitutional rights.

      34. On or about August 26, 2020, Defendant acting in the scope of his employment, and

          under the color of law, deprived Plaintiff of his rights under the First Amendment of the

          United States Constitution and in that, without justification, he unlawfully terminated
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           Plaintiff from his employment with Defendant THE CITY OF CORAL SPRINGS on

           account of the Post.

        35. At all relevant times, Defendant THE CITY OF CORAL SPRINGS has a custom and

           policy that permitted and directed the termination of Plaintiff. Defendant City Manager is

           the final decision maker and has full authority to make policy and procedure and take

           final acts on employment decision, including hiring and firing, as he did here.

       36. Defendant THE CITY OF CORAL SPRINGS, through his final decision maker, directly,

           and under the color of law, not only directed, approved, ratified, but ordered the unlawful

           and deliberate termination of Plaintiff.

       37. Defendant THE CITY OF CORAL SPRINGS' actions have directly and proximately

           caused Plaintiff to suffer damages, including mental suffering, the physical and emotional

           aspects of which continue to this day and are likely to continue in the future. Plaintiff has

           also lost income from his position as Humane Officer and has suffered other damages

           associated with the violation of his constitutional rights, which exist to this day. The

          damage to Plaintiff is likely to continue into the future.

       38 Plaintiff has retained the undersigned counsel to bring this action under 42 U.S.C. §1983,

          is entitled to recover from Defendant THE CITY OF CORAL SPRINGS a reasonable fee

          for said counsel pursuant to 42 U.S.C. §1988.

          WHEREFORE, Plaintiff respectfully requests this Court to exercise jurisdiction over this

   cause and over the parties to this action, enter an award of damages against Defendant THE

   CITY OF CORAL SPRINGS, and award Plaintiff his reasonable attorney's fees and costs

   pursuant to 42 U.S.C. §1988 and all other applicable laws.
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                                   DEMAND FOR JURY TRIAL

           Plaintiff, by and through his undersigned counsel, hereby demands a trial by jury on all

   issues so triable.


   Dated: November 23, 2020                             Respectfully submitted,


                                                       is/Rainier Regueiro
                                                       Rainier Regueiro, Esq.
                                                       Florida Bar No.: 115578
                                                       REMER & GEORGES-PIERRE, PLLC
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                                                       Suite 2200
                                                       Miami, FL 33130
                                                       Tel. (305) 416-5000
                                                       Fax: (305) 416-5005
